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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     TONY MAURICE BELFIELD,                               Case No. 21-cv-01838-HSG
                                   8                     Petitioner,                          ORDER GRANTING EXTENSION OF
                                                                                              TIME TO FILE TRAVERSE
                                   9              v.
                                                                                              Re: Dkt. No. 22
                                  10     BRIAN KIBLER,
                                  11                     Respondent.

                                  12
Northern District of California
 United States District Court




                                  13           Petitioner, an inmate at High Desert State Prison, filed this pro se action seeking a writ of

                                  14   habeas corpus pursuant to 28 U.S.C. § 2254, challenging a conviction from Contra Costa County

                                  15   Superior Court. Petitioner has recently filed a request for a status update, stating that his traverse

                                  16   was filed in February 2022. No traverse was received by the Court. The Court sua sponte

                                  17   GRANTS Petitioner an extension of time to file his traverse. Within twenty-eight (28) days from

                                  18   the date of this order, Petitioner shall file his traverse with the Court.

                                  19           IT IS SO ORDERED.

                                  20   Dated: 7/8/2022

                                  21                                                      ______________________________________
                                                                                          HAYWOOD S. GILLIAM, JR.
                                  22                                                      United States District Judge
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